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pel 8” . UNITED STATES DISTRICT COURT
cero SOUTHERN DISTRICT OF TEXAS
pave Braet HOUSTON DIVISION
UNITED STATES OF AMERICA §
§
v. § CRIMINAL NO.
§
ERNESTO HERNANDEZ MONTEMAYOR, §
§
§
Defendant. §

PLEA AGREEMENT

The United States of America, by and through Kenneth Magidson, United States Attorney
for the Southern District of Texas, and Jesse Salazar, Assistant United States Attorney, and
Andrew Weissmann, Chief of the Fraud Section of the Criminal Division of the United States
Department of Justice (“Fraud Section”), and Christopher Cestaro and Kevin R. Gingras, Trial |
Attorneys, Fraud Section, and Defendant, Emesto Hernandez Montemayor (“Defendant”), and
Defendant’s counsel, pursuant to Rule 11(c)(1)(A) and 11(c)(1)(B) of the Federal Rules of
Criminal Procedure, state that they have entered into an agreement, the terms and conditions of
which are as follows:

The Defendant’s Agreement

1. Defendant agrees to plead guilty to Count One of the Information. Count One
charges Defendant with conspiracy, in violation of Title 18, United States Code, Section 1956(h),
to engage in monetary transactions in property derived from violations of the Foreign Corrupt
Practices Act, Title 15 United States Code, Section 78dd-2 (‘FCPA”), a violation of Title 18,
United States Code, Section 1957(a). Defendant, by entering this plea, agrees that he is waiving
any right to have the facts that the law makes essential to the punishment either charged in an

Indictment or proven to a jury or judge beyond a reasonable doubt.
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Punishment Range

2. The statutory maximum penalty for a violation of Title 18, United States Code,
Section 1956(h) with a Title 18, United States Code, Section 1957(a) object is a term of
imprisonment of not more than ten years and a fine of not more than $250,000 or twice the amount
of the criminally derived property. Additionally, Defendant may receive a term of supervised
release after imprisonment of up to three years. See Title 18, United States Code, Sections
3571(b)(3), 1957(b), and 3583(b)(2). Defendant acknowledges and understands that if he should
violate the conditions of any period of supervised release which may be imposed as part of his
sentence, then Defendant may be imprisoned for the entire term of supervised release, without
credit for time already served on the term of supervised release prior to such violation, See Title
18, United States Code, Sections 3559(a) and 3583(e)(3). Defendant understands that he cannot
have the imposition or execution of the sentence suspended, nor is he eligible for parole.

Mandatory Special Assessment

3. Pursuant to Title 18, United States Code, Section 3013(a)(2)(A), immediately after
sentencing, Defendant will pay to the Clerk of the United States District Court a special assessment
in the amount of one hundred dollars ($100.00) per count of conviction.

Immigration Consequences

4, Defendant recognizes that pleading guilty may have consequences with respect to
his immigration status if he is not a citizen of the United States. Defendant understands that if he
is not a citizen of the United States, by pleading guilty he may be removed from the United States,
denied citizenship, and denied admission to the United States in the future. Defendant’s attorney

has advised Defendant of the potential immigration consequences resulting from Defendant’s plea

of guilty.
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Cooperation

5. The parties understand this Agreement carries the potential for a motion for
departure under Section 5K1.1 of the United States Sentencing Guidelines (“Sentencing
Guidelines”). Defendant understands and agrees that whether such a motion is filed will be
determined solely by the United States through the United States Attorney for the Southern District
of Texas and the Fraud Section. Should Defendant’s cooperation, in the sole judgment and
discretion of the United States, amount to “substantial assistance,” the United States reserves the
sole right to file a motion for departure pursuant to Section 5K1.1 of the Sentencing Guidelines.
Defendant further agrees to persist in that plea through sentencing, and fully cooperate with the
United States. Defendant understands and agrees that the United States will request that sentencing
be deferred until that cooperation is complete.

6. Defendant understands and agrees that the usage “fully cooperate,” as used herein,
includes providing all information relating to any criminal activity known to Defendant, including,
but not limited to, violations of money launderings and the FCPA. Defendant understands that
such information includes both state and federal offenses arising therefrom. In that regard:

(a) Defendant agrees that this Plea Agreement binds only the United States
Attorney for the Southern District of Texas, and the United States
Department of Justice, Criminal Division, Fraud Section, and Defendant,
and that it does not bind any other United States Attorney or other
component or unit of the Department of Justice;

(b) Defendant agrees to testify truthfully as a witness before a grand jury or in
any other judicial or administrative proceeding when called upon to do so
by the United States. Defendant further agrees to waive his Fifth
Amendment privilege against self-incrimination for the purpose of this

Agreement;

(c) Defendant agrees to voluntarily attend any interviews and conferences as
the United States may request;

(d) Defendant agrees to provide truthful, complete, and accurate information
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and testimony and understands any false statements made by Defendant to
the grand jury or at any court proceeding (criminal or civil), or to a
government agent or attorney, can and will be prosecuted under the
appropriate perjury, false statement, or obstruction statutes;

(e) Defendant agrees to provide to the United States all documents in his
possession or under his control relating to all areas of inquiry and
investigation; and

(f) Should the recommended departure, if_any, not meet Defendant’s
expectations, Defendant understands he remains bound by the terms of this
Agreement and that he cannot, for that reason alone, withdraw his plea.

Waiver of Appeal

7. Defendant is aware that Title 28, United States Code, Section 1291, and Title 18,
United States Code, Section 3742, afford a defendant the right to appeal the conviction and
sentence imposed. Defendant knowingly and voluntarily waives the right to appeal the conviction
and the sentence imposed, or the manner in which the sentence was determined, except Defendant
may appeal a sentence above the statutory maximum penalty for the offense charged in Count One
of the Information. Additionally, Defendant is aware that Title 28, United States Code, Section
2255, affords the right to contest or “collaterally attack” a conviction or sentence after the
conviction or sentence has become final. Defendant knowingly and voluntarily waives the right
to contest his conviction or sentence by means of any post-conviction proceeding, except that
Defendant does not waive the right to raise a claim of ineffective assistance of counsel on direct
appeal, if otherwise permitted, or on collateral review in a motion under Title 28, United States
Code, Section 2255. In the event the Defendant files a notice of appeal following the imposition
of the sentence, the United States will assert its rights under this agreement and seek specific
performance of this waiver.

8. In agreeing to these waivers, Defendant is aware that a sentence has not yet been

determined by the Court. Defendant is also aware that any estimate of the possible sentencing
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range under the Sentencing Guidelines that he may have received from his counsel, the United
States, or the Probation Office, is a prediction, not a promise, and such estimate did not induce
his guilty plea and is binding on neither the United States, the Probation Office, nor the Court.
The United States does not make any promise or representation concerning what sentence
Defendant will receive. Defendant further understands and agrees that the Sentencing Guidelines
are “effectively advisory” to the Court. United States v. Booker, 125 S.Ct. 738 (2005).
Accordingly, Defendant understands that, although the Court must consult the Sentencing
Guidelines and must take them into account when sentencing Defendant, the Court is not bound
to follow the Sentencing Guidelines nor sentence Defendant within the calculated guideline range.
9. Defendant understands and agrees that each and all waivers contained in the
Agreement are made in exchange for the concessions made by the United States in this Plea
Agreement.
The United States’ Agreements
10. The United States agrees to each of the following:

(a) At the time of sentencing, the United States agrees not to oppose
Defendant’s anticipated request to the Court and the United States Probation
Office that he receive a two-level downward adjustment under Section
3El1.1(a) of the Sentencing Guidelines should Defendant accept

responsibility as contemplated by the Sentencing Guidelines; and
(b) If Defendant qualifies for an adjustment under U.S.S.G. Section 3E1.1(a)
and Defendant’s offense level is 16 or greater, the United States may move
for an additional one-level downward adjustment based on the timeliness of
the plea or the expeditious manner in which Defendant provided complete

information regarding his role in the offense.

Agreement Binding Only Southern District of Texas and
U.S. Department of Justice, Criminal Division, Fraud Section

11. The United States agrees that it will not further criminally prosecute Defendant in

the Southern District of Texas for offenses arising from conduct charged in the Information. This
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Plea Agreement binds only the United States Attorney’s Office for the Southern District of Texas;
the United States Department of Justice, Criminal Division, Fraud Section; and Defendant. It does
not bind any other United States Attorney or any other component or unit of the Department of
Justice. The United States will bring this Plea Agreement and the full extent of Defendant’s
cooperation to the attention of other prosecuting offices if requested.
United States’ Non-Waiver of Appeal
12. The United States reserves the right to carry out its responsibilities under the
Sentencing Guidelines. Specifically, the United States reserves the right to:
(a) Bring its version of the facts of this case, including its evidence file and
any investigative files, to the attention of the Probation Office in
connection with that office’s preparation of a presentence report;

(b) Set forth or dispute sentencing factors or facts material to sentencing;

(c) Seek resolution of such factors or facts in conference with Defendant’s
counsel and the Probation Office;

(d) File a pleading relating to these issues, in accordance with U.S.S.G.
Section 6A1.2 and Title 18, United States Code, Section 3553(a); and

(e) Appeal the sentence imposed or the manner in which it was determined.
Sentence Determination
13. Defendant is aware that the sentence will be imposed after consideration of the
Sentencing Guidelines, which are only advisory, as well as the provisions of Title 18, United States
Code, Section 3553(a). Defendant nonetheless acknowledges and agrees that the Court has
authority to impose any sentence up to and including the statutory maximum set for the offense(s)
to which Defendant pleads guilty, and that the sentence to be imposed is within the sole discretion
of the sentencing judge after the Court has consulted the applicable Sentencing Guidelines.

Defendant understands and agrees the parties’ positions regarding the application of the
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Sentencing Guidelines do not bind the Court, and that the sentence imposed is within the discretion
of the sentencing judge. If the Court should impose any sentence up to the maximum established
by statute, or should the Court order any or all of the sentences imposed to run consecutively,
Defendant cannot, for that reason alone, withdraw a guilty plea, and will remain bound to fulfill
all of the obligations under this Plea Agreement.
Waiver of Rights

14. Defendant represents to the Court that he is satisfied that his attorney has rendered
effective assistance. Defendant understands that by entering into this Agreement, he surrenders
certain rights as provided in this Plea Agreement. Defendant understands that those rights include

the following:

(a) Defendant understands that he has the right to have the facts of this case
presented to a federal grand jury, consisting of between sixteen and twenty-
three citizens, twelve of whom would have to find probable cause to believe
that he committed the offense set forth in the information before an
indictment could be returned. Defendant acknowledges that he is
knowingly and intelligently waiving his right to be indicted.

(b) If Defendant persisted in a plea of not guilty to the charges, Defendant
would have the right to a speedy jury trial with the assistance of counsel.
The trial may be conducted by a judge sitting without a jury if Defendant,
the United States, and the court all agree.

(c) Ata trial, the United States would be required to present witnesses and other
evidence against Defendant. Defendant would have the opportunity to
confront those witnesses and his attorney would be allowed to cross-
examine them. In turn, Defendant could, but would not be required to,
present witnesses and other evidence on his own behalf. If the witnesses
for Defendant would not appear voluntarily, he could require their
attendance through the subpoena power of the court.

(d) =‘ At atrial, Defendant could rely on a privilege against self-incrimination and
decline to testify, and no inference of guilt could be drawn from such refusal
to testify. However, if Defendant desired to do so, he could testify on his
own behalf.
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Factual Basis for Guilty Plea

15. Defendant is pleading guilty because he is guilty of the charges contained in Count
One of the Information. If this case were to proceed to trial, the United States could prove each
element of the offense beyond a reasonable doubt. The following facts, among others, would be
offered to establish Defendant’s guilt:

“The Foreign State Government” was the government of one of the thirty-one states that
comprise Mexico.

From in or around 2005 to in or around December 2010, ERNESTO HERNANDEZ
MONTEMAYOR (“HERNANDEZ”) was an employee of The Foreign State Government with
responsibility for maintaining The Foreign State Government’s aircraft.

From in or around 2005 to in or around December 2010, “Foreign State Government
Employee 1” was an employee of The Foreign State Government.

“Aviation Corporation A” was a United States company, headquartered in Brownsville,
Texas, which provided maintenance, repair, overhaul, and related services to customers in the
United States and Mexico, including to The Foreign State Government.

“Executive 1” was a citizen of the United States and a resident of Texas. Executive 1 was
an employee of Aviation Corporation A from in or around 1975 to at least in or around September
2015. Executive 1 was an owner of Aviation Corporation A from in or around 1993 through in or
around 2010.

“Executive 2” was a citizen of the United States and a resident of Texas. Executive 2 was
the Director of Maintenance of Aviation Corporation A from in or around 1978 through at least in
or around September 2015. Executive 2 was an owner of Aviation Corporation A from in or

around 1993 through in or around 2010.
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“Aviation Corporation B” was a United States company, headquartered in Houston, Texas,
which provided maintenance, repair, overhaul, and related services to customers in the United
States and Mexico, including to The Foreign State Government.

“Executive 3” was a citizen of the United States and a resident of Texas. Executive 3 was
an owner of Aviation Corporation B.

From in or around 2006 through at least in or around December 2010, United States
citizens, including Executive 1, Executive 2, Executive 3 and others, knowingly, willfully, and
corruptly agreed to make payments to HERNANDEZ to influence HERNANDEZ in his official
capacity and to secure an improper advantage for companies located in the United States
(collectively, “the U.S. Companies”), including Aviation Corporation A, Aviation Corporation B,
and others, in order to assist the U.S. Companies in obtaining and retaining business with The
Foreign State Government.

From in or around 2006 through at least in or around December 2010, HERNANDEZ
knowingly and willfully conspired with individuals known and unknown, including Foreign State
Government Employee 1, Executive 1, Executive 2, Executive 3, and others, to use the proceeds
of the bribery scheme to engage in monetary transactions from U.S. bank accounts that affected
interstate commerce and were of a value greater than $10,000.

For example, on or about April 19, 2010, HERNANDEZ, Foreign State Government
Employee 1, and others knowingly and willfully used, and caused to be used, the proceeds of the
bribery scheme to issue a $40,000 check from HERNANDEZ’s bank account in Texas and to
deposit the $40,000 check into Foreign State Government Employee 1’s bank account.

In furtherance of the conspiracy, HERNANDEZ and his co-conspirators, including

Foreign State Government Employee 1, Executive 1, Executive 2, Executive 3, and others,
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knowingly and willfully used, and caused to be used, the proceeds of the bribery scheme to engage
in monetary transactions in excess of $10,000 totaling more than $2,000,000.
Breach of Plea Agreement

16. IfDefendant should fail in any way to fulfill completely all of the obligations under
this Plea Agreement, the United States will be released from its obligations under the Plea
Agreement, and Defendant’s plea and sentence will stand. If at any time Defendant retains,
conceals or disposes of assets in violation of this Plea Agreement, or if Defendant knowingly
withholds evidence or is otherwise not completely truthful with the United States, then the United
States may move the Court to set aside the guilty plea and reinstate prosecution. Any information
and documents that have been disclosed by Defendant, whether prior to or subsequent to this Plea
Agreement, and all leads derived therefrom, will be used against Defendant in any prosecution.

Restitution, Forfeiture, and Fines — Generally

17. This Plea Agreement is being entered into by the United States on the basis of
Defendant’s express representation that he will make a full and complete disclosure of all assets
over which he exercises direct or indirect control, or in which he has any financial interest.
Defendant agrees not to dispose of any assets or take any action that would effect a transfer of
property in which he has an interest, unless Defendant obtains the prior written permission of the
United States.

18. Defendant agrees to make a complete financial disclosure by truthfully executing a
sworn financial statement (Form OBD-500 or similar form) within 14 days of signing this plea
agreement. Defendant agrees to authorize the release of all financial information requested by the
United States, including, but not limited to, executing authorization forms permitting the United

States to obtain tax information, bank account records, credit histories, and social security

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information. Defendant agrees to discuss and answer any questions by the United States relating
to Defendant’s complete financial disclosure.

19. Defendant agrees to take all steps necessary to pass clear title to forfeitable assets
to the United States and to assist fully in the collection of restitution and fines, including, but not
limited to, surrendering title, executing a warranty deed, signing a consent decree, stipulating to
facts regarding the transfer of title and the basis for the forfeiture, and signing any other documents
necessary to effectuate such transfer. Defendant also agrees to direct any banks which have
custody of his assets to deliver all funds and records of such assets to the United States.

20. Defendant understands that forfeiture, restitution, and fines are separate
components of sentencing and are separate obligations.

Forfeiture

21. Defendant stipulates and agrees that the factual basis for his guilty plea supports
the forfeiture of $2,026,308.67 against him and in favor of the United States, and Defendant agrees
to the imposition of a personal money judgment for that amount against him and in favor of the
United States of America. Defendant stipulates and admits that one or more of the conditions set
forth in Title 21, United States Code, section 853(p), exists. Defendant agrees to forfeit any of his
property, or his interest in property, up to the value of any unpaid portion of the money judgment,
until the money judgment is fully satisfied.

22. Defendant agrees to waive any and all interest in any asset which is the subject of
arelated administrative or judicial forfeiture proceeding, whether criminal or civil, federal or state.

23. Defendant consents to the order of forfeiture becoming final as to Defendant at the

time of sentencing, pursuant to Federal Rule of Criminal Procedure 32.2(b)(4)(A).

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24. Defendant waives any requirements of Rules 7, 32.2, and 43(a) of the Federal Rules
of Criminal Procedure regarding forfeiture, including notice of the forfeiture in the information,
announcement of the forfeiture at sentencing, and incorporation of the forfeiture in the judgement.
Defendant understands that the personal money judgment referenced in Paragraph 21 above is part
of the sentence that may be imposed in this case.

25. Subject to the provisions of paragraph 7 above, Defendant waives the right to
challenge forfeiture in any manner, including by direct appeal or in a collateral proceeding.

Fines

26. Defendant understands that under the Sentencing Guidelines the Court is permitted
to order Defendant to pay a fine that is sufficient to reimburse the government for the costs of any
imprisonment or term of supervised release, if any. Defendant agrees that any fine imposed by the
Court will be due and payable immediately, and Defendant will not attempt to avoid or delay
payment. Subject to the provisions of paragraph 7 above, Defendant waives the right to challenge
the fine in any manner, including by direct appeal or in a collateral proceeding.

Complete Agreement

27. This written Plea Agreement, consisting of 15 pages, including the attached
addendum of Defendant and his attorney, constitutes the complete Plea Agreement between the
United States, Defendant, and his counsel. No promises or representations have been made by the
United States except as set forth in writing in this Plea Agreement. Defendant acknowledges that
no threats have been made against him and that he is pleading guilty freely and voluntarily because

he is guilty.

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28. Any modification of this Plea Agreement must be in writing and signed by all

parties.

Filed at Nous N / m™ , Texas, on

APPROVED:

Kenneth Magidson
United States Attorney

By: “
JESSE SALAZAR
Assjstant United States Attorney
Southern District of Texas
Telephone: 956.992.9424

By: LE ——
STANLEY G. SCHNEIDER

Attorney for Defendant

 

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Andrew Weissmann
Chief, Fraud Section
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
UNITED STATES OF AMERICA §
§
V. § CRIMINAL NO.
§
ERNESTO HERNANDEZ MONTEMAYOR, §
§
§
Defendant. §

PLEA AGREEMENT - ADDENDUM

I have fully explained to Defendant his rights with respect to the Information. I have
reviewed the provisions of the United States Sentencing Commission’s Guidelines Manual and
Policy Statements and I have fully and carefully explained to Defendant the provisions of those
Guidelines which may apply in this case. I have also explained to Defendant that the Sentencing
Guidelines are only advisory and the court may sentence Defendant up to the maximum allowed
by statute per count of conviction. Further, I have carefully reviewed every part of this Plea
Agreement with Defendant. To my knowledge, Defendant’s decision to enter into this Agreement

is an informed and voluntary one.

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Attorney for Defendant Date

 

 

I have consulted with my attorney and fully understand all my rights with respect to the
Information pending against me. My attorney has fully explained and I understand all my rights

with respect to the provisions of the United States Sentencing Commission’s Guidelines Manual

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which may apply in my case. I have read and carefully reviewed every part of this Plea Agreement

with my attorney. I understand this Agreement and I voluntarily agree to its terms.

 

 

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Defendant Aj Date '

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